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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                      Chapter 11

THE GREAT ATLANTIC & PACIFIC TEA                            Case No. 15-23007-rdd
COMPANY, INC., et al.,1
                                                            Jointly Administered
                  Debtors.
THE GREAT ATLANTIC & PACIFIC TEA                            Adv. Pro. No. 18-8245-rdd
COMPANY, INC., et al.,
                  Plaintiff,

         - against -

PEPSICO, INC.; BOTTLING GROUP, LLC
(d/b/a Pepsi Beverages Company and f/d/b/a
The Pepsi Bottling Group); FRITO-LAY
NORTH AMERICA, INC.; PEPSI-COLA
METROPOLITAN BOTTLING COMPANY,
INC.; PEPSI-COLA HASBROUCK
HEIGHTS; PEPSI-COLA BOTTLING
COMPANY; QUAKER SALES AND
DISTRIBUTION, INC.; MULLER QUAKER
DAIRY, LLC; STACY’S PITA CHIP
COMPANY, INC.; PEPSI BOTTLING
GROUP, NJ; and PEPSI USA,
                     Defendants.

            ORDER GRANTING ADMISSION TO PRACTICE, PRO HAC VICE

         Upon the motion of Joseph D. Frank to be admitted, pro hac vice, to represent the

Defendants in the above-referenced adversary proceeding, and upon movant’s certification that

he is a member in good standing of the Bar of the State of Illinois, admitted to practice before the

United States District Court for the Northern District of Illinois, the United States Court of




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  The Debtors are: 2008 Broadway, Inc.; The Great Atlantic & Pacific Tea Company, Inc.; A&P Live Better, LLC;
A&P Real Property, LLC; APW Supermarket Corporation; APW Supermarkets, Inc.; Borman’s, Inc.; Delaware
County Dairies, Inc.; Food Basics, Inc.; Kwik Save Inc.; McLean Avenue Plaza Corp.; Montvale Holdings, Inc.;
Montvale-Para Holdings, Inc.; Onpoint, Inc.; Pathmark Stores, Inc.; Plainbridge LLC; Shopwell, Inc.; Super Fresh
Food Markets, Inc.; The Old Wine Emporium of Westport, Inc.; Tradewell Foods of Conn., Inc.; and Waldbaum,
Inc.
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Appeals for the Third, Seventh, and Ninth Circuits, and the United States Supreme Court, it is

hereby:

       ORDERED that Joseph D. Frank is admitted to practice, pro hac vice, to represent the

Defendants in the above-referenced adversary proceeding in the United States Bankruptcy Court

for the Southern District of New York, provided the filing fee has been paid.

Dated: June 1, 2018
       White Plains, New York
                                                    /s/Robert D. Drain
                                                    Honorable Robert D. Drain
                                                    United States Bankruptcy Judge




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